    Entered: September 8th, 2017
                                   Case 16-21945   Doc 39   Filed 09/08/17   Page 1 of 4
    Signed: September 8th, 2017

    SO ORDERED




                                          IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF MARYLAND
                                                      Located in Baltimore

                          IN RE:
                                                                   Case No. 16-21945-RAG
                          VIRGINIA GAYLE BEVERLY                   Chapter 13
                          AKA VIRGINIA B. MAULTSBY

                               Debtor

                          U.S. BANK NATIONAL ASSOCIATION
                          AS TRUSTEE FOR NRZ PASS-
                          THROUGH TRUST IV
                                                                   Motion No.
                               Movant
                          v.

                          VIRGINIA GAYLE BEVERLY
                          AKA VIRGINIA B. MAULTSBY

    Rosenberg &
  Associates, LLC
  4340 East West
                               Respondents
Highway, Suite 600
Bethesda, MD 20814


                                         CONSENT ORDER MODIFYING AUTOMATIC STAY

FILE NUMBER: 64696              Upon consideration of the Movant's Motion Seeking Relief from the Automatic
                         Stay, the parties having reached an agreement, and good cause having been
                         shown, it is by the United States Bankruptcy Court for the District of Maryland




                                                                Page 1
                             Case 16-21945       Doc 39    Filed 09/08/17    Page 2 of 4

                             ORDERED that the Automatic Stay be, and it is hereby, modified pursuant to
                     11 U.S.C. Sections 362(d) , to permit Movant to commence foreclosure proceeding in
                     the Circuit Court for Baltimore County, Maryland, against the real property and
                     improvements with a legal description of “Lot numbered Six (6) in Block C as shown
                     on Plat entitled Section ‘E’ Westerlee” also known as 1202 Dlong Road, Catonsville,
                     MD 21228 and to allow the successful purchaser to obtain possession of same; and
                     be it further

                           ORDERED that the above Order be and it is hereby, stayed provided that the
                     Debtor:

                            1. Make a payment to the Movant of $1,781.03 said payment represents the
                     regular mortgage payment) by September 1, 2017 and continue thereafter to make
                     regular monthly payments as they become due pursuant to the terms of the
                     Promissory Note secured by the Deed of Trust on the above referenced property;
                     and

                            2. Make a payment to the Movant of $1,293.64 on September 15, 2017 (said
                     payment represents 1/6 of the arrears of $7,761.80 which consist of 4 payments of
                     $1,781.03 for 05/01/2017 through 08/01/2017 and attorney fees and costs of
                     $1,031.00 less suspense of $393.32) and continue to make payments of $1,293.64
                     by the 15th of each month through and including February 15, 2018 ; and


                            3. All payments to the Movant should be made to:

                             Nationstar Mortgage LLC
                             Attn: Payment Processing
                             PO Box 619094
                             Dallas, TX. 75261-9741


                              To the extent the Debtor defaults in making the above specified cure or regular
                     payments within the first sixty days of the cure the Movant shall be immediately free
                     to proceed with foreclosure of its security instrument; the forbearance provisions of
                     this order will immediately terminate upon the failure to timely tender any and all
                     payments within the first sixty days of this order and the filing of the Notice of
    Rosenberg &      Secured Creditor's Right to Commence Foreclosure Proceedings. If being
  Associates, LLC    understood between the parties that strict compliance provision is intended as good
  4340 East West
Highway, Suite 600   faith consideration for this order. Upon default and termination of the forbearance
Bethesda, MD 20814
                     provisions under this paragraph, the Movant shall file a Notice of Secured Creditor's
                     Right to Commence Foreclosure Proceedings. If the debtor defaults upon payment
                     under the terms of this order and if said default occurs outside of the sixty day period
FILE NUMBER: 64696   set forth in this paragraph or if any payments which have been acknowledged in the
                     calculation of the mortgage arrearage in this order, but which subsequently fail to
                     clear and are dishonored then the Movant shall mail notice to the Debtor allowing an
                     additional ten (10) days from the mailing of the notice to cure in certified funds and
                     shall file an Affidavit of Default with the Court. Attorney fees for filing each Affidavit of
                     Default may be $100.00 with additional charges for objections and/or hearings. If
                     after ten (10) days from the mailing of the notice, the payment remains in arrears,
                                                                 Page 2
                             Case 16-21945     Doc 39    Filed 09/08/17   Page 3 of 4

                     Movant or its attorney shall be free to commence a foreclosure proceeding on the
                     real property and improvements described above , without further order of court

                           Upon the filing of the third such affidavit, the Automatic Stay shall immediately
                     terminate; and be it further

                             ORDERED that the fourteen (14) day stay of Rule 4001(a)(3) be, and it is
                     hereby, waived and the terms of this Order are immediately enforceable; and be it
                     further
                             ORDERED that the Automatic Stay of 11 U.S.C. Section 362 be, and it
                     hereby, shall not be reimposed as to the Debtor's interest, by the conversion of this
                     case to a case under any other chapter of the Bankruptcy Code.




                     AGREED AND CONSENTED TO:

                       /s/ Mark D. Meyer, Esq.                               /s/ Charlene A. Wilson,
                                                                             Esq.
                       Mark D. Meyer, Esq.                                   Charlene A. Wilson, Esq.
                       Attorney for Movant                                   Attorney for Debtor




                                 cc:
                                 Mark D. Meyer, Esq.,
                                 Rosenberg & Associates, LLC
                                 4340 East West Highway, Suite 600
                                 Bethesda, MD 20814

                                 Nancy Spencer Grigsby
                                 Trustee
                                 185 Admiral Cochrane Drive, Suite 240
                                 Annapolis, MD 21401
    Rosenberg &
  Associates, LLC
  4340 East West
                                 Charlene A. Wilson, Esquire
Highway, Suite 600               1 N. Charles Street, Suite 1905,
Bethesda, MD 20814
                                 Baltimore MD 21201

                                 Virginia Gayle Beverly
FILE NUMBER: 64696               aka Virginia B. Maultsby
                                 1202 Dlong Road
                                 Catonsville, MD 21228




                                                             Page 3
                            Case 16-21945     Doc 39    Filed 09/08/17    Page 4 of 4

                            I HEREBY CERTIFY that the terms of the copy of the consent order submitted
                     to the Court are identical to those set forth in the original consent order; and the
                     signatures represented by the /s/__________ on this copy reference the signatures
                     of consenting parties on the original consent order.

                                                                         /s/ Mark D. Meyer, Esq.
                                                                         Mark D. Meyer, Esq.



                                                        End of Order




    Rosenberg &
  Associates, LLC
  4340 East West
Highway, Suite 600
Bethesda, MD 20814




FILE NUMBER: 64696




                                                            Page 4
